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FOR THE wESTERN DISTRICT oF TENNESSEE cggwgi PV[Z`Qh
wEsTERN DIVISION GQHH:¢Q . z -a¢

 

 

UNITED sTATEs oF AMERICA )

Plaintiff,
VS. CR. NO. 04-20384-D
HECTOR POLENDO, JR. )

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

This cause was set for a Suppression Hearing and Report Date
on May 19, 2005 at 10:00 A.m. The defendant moved the Court for a
continuance to allow for additional time to prepare.

The Court granted the motion and hereby resets the trial date
to July 5, 2005 with a Suppression Hearing and Report Date on
Tuesday, June 22, 2005 at 1230 P.M., in Courtroom 3, 9th Floor of
the Federal Building, Memphis, TN.

The period from June 17, 2005 through July l5, 2005 is
excludable under 18 U.S.C. § 3161(h)(l)(F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

IT IS SO ORDERED this /Uzhgday of May, 2005.

B ICE B. ONALD
UNITED STATES DISTRICT JUDGE

This document entered on the docket Sheet fn compliance

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This notice confirms a copy cf the document docketed as number 74 in
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Honorable Bernice Donald
US DISTRICT COURT

